           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         CENTRAL DIVISION

IN RE: FOLGERS COFFEE MARKETING    )       Case No. 21-2984-MD-C-BP
            LITIGATION             )




SUGGESTIONS IN SUPPORT OF MOTION TO APPOINT TODD D. CARPENTER
  AND LUBNA FARUQI AS INTERIM CO-LEAD CLASS COUNSEL AND TO
   ESTABLISH AN EXECUTIVE COMMITTEE AND LIAISON COUNSEL




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                                        INTRODUCTION

       Plaintiffs Shelly Ashton, Jay Schoener, Ramon Ibarra, Ellen Moser, Geoff Thomson, and

Julie Marthaller (“Ashton Plaintiffs”) move this Court, pursuant to Federal Rule of Civil Procedure

23(g)(3), to appoint the following interim class counsel leadership structure (herein referred to as

the (“Carlson Lynch Faruqi Team” or “CLF Team”):

       Co-Lead Class Counsel: Lubna M. Faruqi of Faruqi & Faruqi, LLP (the “Faruqi Firm”)

       and Todd D. Carpenter of Carlson Lynch, LLP (“Carlson Lynch”);

       Liaison Counsel: Tim E. Dollar of Dollar, Burns, Becker & Hershewe, L.C. (“Dollar”);

       and

       Executive Committee: Bonner C. Walsh of Walsh PLLC (“Walsh”).

       This complex litigation will require an experienced, knowledgeable, and well-funded

leadership group to steer it to a successful conclusion. As outlined in further detail below, the CLF

Team has the necessary skill, experience, and resources to ensure that the interests of the proposed

classes are fully protected and that this case progresses efficiently to trial. The CLF Team’s

attorneys have proven track records of successfully representing class members in hundreds of

class actions and MDL proceedings.

       The CLF Team brought the first-filed cases against defendant and has made significant

investments into this litigation, including extensive pre-litigation investigation. Moreover, the CLF

Team has already proven its value to this case: the group includes counsel from the Ashton action

– the Faruqi Firm and Carlson Lynch – the only group of lawyers to have defeated a motion to

dismiss in this matter, a significant victory for class members. From the outset, the CLF Team has

worked cooperatively to ensure that class members’ best interests are represented.

       The CLF Team is comprised of a group of geographically and demographically diverse

lawyers with outstanding experience both at the national and local level, all of which will benefit


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the proposed classes and allow this matter to proceed efficiently and effectively. Moreover, the

CLF Team is the consensus pick of the Plaintiffs: it includes attorneys that represent 7 of the 11

plaintiffs in this MDL,1 who reside across 6 states and filed 5 of the 9 consolidated cases.

         The CLF Team, with Tim Dollar as liaison, presents an efficient and robust leadership team

with experience in high profile national litigation that maximizes the chance for a successful class-

wide resolution of this case. Accordingly, the CLF Team satisfies the criteria for leadership set

forth in Fed. R. Civ. P. 23(g)(1)(A) and should be appointed pursuant to Rule 23(g)(3).

                      FACTUAL AND PROCEDURAL BACKGROUND

    I.   The First-Filed Actions Were Brought By The CLF Team

         On May 5, 2020, Plaintiff Ibarra filed Ibarra v. Folger Coffee Company, No. 20-cv-0850-

L-BLM (S.D. Cal.), alleging that defendant engaged in deceptive labeling practices for its Folgers

ground coffee products. The Ibarra action was filed by Carlson Lynch and was the first-filed

action. Three days later, on May 8, 2020, the Faruqi Firm, on behalf of Plaintiffs Ashton and

Schoener, filed Ashton, et al. v. J.M. Smucker Co., No. 5:20-cv-00992-JGB-SHK (C.D. Cal.), also

alleging that defendant engaged in deceptive conduct in its labeling of Folgers ground coffee

products.

         On June 26, 2020, for purposes of judicial efficiency, the Ibarra action was voluntarily

dismissed without prejudice and Plaintiff Ibarra and his claims were added to the Ashton action

via an amended complaint. See No. 5:20-cv-00992-JGB-SHK, ECF No. 17 (C.D. Cal. June 29,

2020). The Carlson Lynch and Faruqi Firm collaboration has proven to be successful—on

December 16, 2020, Plaintiffs Ashton, Schoener, and Ibarra successfully defeated defendant’s




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  Plaintiff Rodger Smith and his counsel also support the CLF Team’s proposed leadership
structure. See Joint Rule 26(f) Report, ECF No. 61.


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motion to dismiss, with the following claims surviving: (1) California’s Consumers Legal

Remedies Act (“CLRA”); (2) California’s False Advertising Law (“FAL”); (3) California’s Unfair

Competition Law (“UCL”); (4) New York’s General Business Law § 349, (5) New York’s General

Business Law § 350; (6) breach of express and implied warranty; (7) intentional and negligent

misrepresentation; and (8) quasi contract/unjust enrichment/restitution. Ashton v. J.M. Smucker

Co., No. EDCV 20-992 JGB (SHKx), 2020 WL 8575140, at *16 (C.D. Cal. Dec. 16, 2020).

          Since defeating the motion to dismiss, Carlson Lynch and the Faruqi Firm have taken lead

on at least the following tasks in the Ashton action: (1) drafting and serving Rule 26(a) Initial

Disclosures; (2) organizing and conducting the Rule 26(f) meet and confer with Defendant; (3)

drafting the Joint Rule 26(f) Report; (4) drafting initial discovery requests; (5) engaging a

consulting non-testifying expert; and (6) filing a Motion with the J.P.M.L. to Centralize and

Transfer all the actions. (Master) Declaration of Todd Carpenter (“Carpenter Decl.”) ¶ 8; see also

In re: Folgers Coffee Mktg. and Sales Practices Litig., No. 2984 (J.P.M.L.), ECF No. 1.

II.       The Remaining Actions Were Subsequently Filed And Have Not Progressed Beyond
          A Motion to Dismiss

          After the Ibarra and Ashton actions were filed, eight other cases were filed over the next

year. For the Court’s convenience, the chart below outlines each of the case in order of filing, as

well as counsel for each of the cases.

 Order                              Case                                      Counsel
 Filed

      1      Ibarra v. Folger Coffee Co., No. 20-cv-0850-L-            Carlson Lynch, LLP*
             BLM (S.D. Cal.) (filed May 5, 2020)
      2      Ashton, et al. v. J.M. Smucker Co., No. 5:20-cv-      Faruqi & Faruqi, LLP and The
             00992-JGB-SHK (C.D. Cal.) (filed May 8, 2020)            Wand Law Firm, P.C.*

      3      Sorin v. Folger Coffee Co., No. 9:20-cv-80897-          Komlossy Law P.A., The
             WPD (S.D. Fla.) (filed June 4, 2020)                  Paskowitz Law Firm P.C., Roy
                                                                     Jacobs & Associates, Law



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                                                                 Offices of Beth A. Keller, P.C.,
                                                                    and Bonnett, Fairbourn,
                                                                     Friedman & Balint, PC

    4      Mawby v. Folger Coffee Co., No. 4:20-cv-00822-          Shank & Heinemann, LLC
           BP (W.D. Mo.) (filed August 27, 2020, removed
           October 13, 2020)
    5      Tan v. Folger Coffee Co., No. 2:20-cv-09370-           Law Offices of David N Lake
           JGB-SHK (C.D. Cal.) (filed October 13, 2020)          APC, Komlossy Law P.A., The
                                                                 Paskowitz Law Firm P.C., Law
                                                                 Offices of Beth A. Keller, P.C.,
                                                                    and Bonnett, Fairbourn,
                                                                     Friedman & Balint, PC

    6      Fahey v. Folgers Coffee Co., No. 1:20-cv-03620-             Thomas C. Willcox
           TSC (D.D.C.) (filed November 10, 2020,
           removed December 11, 2020)
    7      Moser v. J. M. Smucker Co., et al., No. 1:20-cv-           Carlson Lynch, LLP*
           07074 (N.D. Ill.) (filed November 30, 2020)
    8      Smith v. Walmart, Inc., No. 0:21-cv-60265-RS           Oster Law Firm and Southern
           (S.D. Fla.) (filed December 29, 2020, removed           Atlantic Law Group, PLLC
           February 2, 2021)
    9      Thomson v. J.M. Smucker Co., et al., No. 1:21-cv-              Walsh PLLC*
           00009-MJT (E.D. Tex.) (filed January 8, 2021)
   10      Marthaller v. J.M. Smucker Co., et al., No. 2:21-              Walsh PLLC*
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           2021)

* An asterisk indicates cases in which Tim E. Dollar is appearing as local counsel.

        Of note, Defendant’s motion to dismiss was granted in the Sorin action, dismissing all of

Plaintiff Sorin’s claims (without prejudice). See No. 9:20-cv-80897-WPD, ECF No. 35 (S.D. Fla.

Dec. 31, 2020). Also notable is the Tan action. Because the Tan case was filed in the Central

District of California, where the Ashton action was then pending, counsel for Plaintiff Tan filed a

motion to consolidate the Tan and Ashton actions. See 5:20-cv-00992-JGB-SHK, ECF No. 45

(C.D. Cal. Nov. 13, 2020). The court granted that motion on January 8, 2021, after the Ashton

court denied Defendant’s motion to dismiss. See id. at ECF No. 60. Moreover, because of the

pending JPML proceedings, no consolidated complaint was filed in the Ashton action to add



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Plaintiff Tan. As such, Plaintiff Tan is not subject to the court’s order denying Defendant’s motion

to dismiss in the Ashton action.

       Finally, the CLF Team notes that while the Mawby Group proposed Tim E. Dollar and

Todd D. Carpenter as part of their leadership structure in the Joint 26(f) Status Report (ECF No.

41 at 2) and may do the same in their motion, Mr. Dollar and Mr. Carpenter were not consulted

and have not agreed to that structure.

                                            ARGUMENT

 I.    Legal Standard

       Prior to determining whether a class should be certified, courts may appoint interim class

counsel pursuant to Rule 23(g)(3) of the Federal Rules of Civil Procedure. In considering the

leadership appointment, courts consider: (i) the work counsel has done in investigating and

identifying the claims in the action; (ii) counsel’s experience in handling class actions, other

complex litigation, and the types of claims asserted; (iii) counsel’s knowledge of the applicable

law; and (iv) the resources counsel will commit to representing the class. Fed. R. Civ. P.

23(g)(1)(A)(i)-(iv); see Crocker v. KV Pharm. Co., No. 4:09-CV-198 (CEJ), 2009 WL 1297684,

at *1 (E.D. Mo. May 7, 2009) (applying Rule 23(g)(1)(A) factors to selection of interim class

counsel). The Court may also consider “any other matter pertinent to counsel’s ability to fairly and

adequately represent the interests of the class[.]” Fed. R. Civ. P. 23(g)(1)(B). When more than one

attorney seeks appointment, the court must appoint the applicant(s) “best able to represent the

interests of the class.” Fed. R. Civ. P. 23(g)(2).

       A.      The CLF Team Was First to File and Did Extensive Pre-Suit Investigation

       Fed. R. Civ. P. 23(g)(1)(A)(i) requires that a court consider the work undertaken by the

proposed interim class counsel in the case. Counsel who has undertaken extensive investigatory

and analytical tasks prior to drafting the complaint is better able to represent the class than one


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who did not. See Moore’s Federal Practice § 23.120(3)(a) (3d ed. 2007); see, e.g., In Re Bisphenol-

A (Bpa) Polycarbonate Plastic Prods. Liab. Litig., MDL No. 1967, 2011 WL 13152798, at *5

(W.D. Mo. Jan. 7, 2011) (considering the “abundant work” proposed co-lead counsel did in

investigating and pursuing the potential claims).

       To date, the CLF Team has devoted significant time and resources to the investigation and

pursuit of the claims in this litigation. On May 5, 2020, Carlson Lynch filed Ibarra, the first action

against Defendant or any coffee manufacturer. When Ibarra was filed, it prompted articles

published by news outlets, which resulted in a flurry of similar cases against Folgers and other

coffee manufacturers. Three days after Ibarra was filed, the Faruqi Firm, which had independently

investigated Defendant’s conduct since 2019, filed the Ashton complaint. As discussed above,

Carlson Lynch and the Faruqi Firm partnered, and through their collective advocacy, successfully

opposed Defendant’s motion to dismiss (the only Plaintiffs’ counsel team to do so), took lead on

pushing forward to discovery, and eventually initiated the MDL petition which resulted in the

efficient centralization of this action. The CLF Teams’ litigation efforts were led jointly by Todd

D. Carpenter of Carlson Lynch and Lubna M. Faruqi of the Faruqi Firm, who oversaw their

respective firms’ efforts and coordinated overall litigation strategy. To date, Mr. Carpenter, Ms.

Faruqi, and their respective firms have committed significant hours of work to this matter and will

continue to do so.

       The Ibarra and Ashton actions were the culmination of significant investigation that began

in 2019. Collectively, the CLF Teams’ pre-suit investigation included at least the following: (1)

significant product testing to confirm their clients’ allegations; (2) factual research on defendants

and the allegations; (3) legal research on potential claims and liability; (4) extensive discussions

with clients; and (5) engaging a consultant. These endeavors, which required significant time and




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resources, allowed the CLF Team to confirm the veracity of their clients’ claims, and verify that

the challenged conduct is deceptive. The CLF Team is prepared to continue devoting substantial

resources required for expert work regarding consumer expectations and damages in connection

with class certification. These efforts demonstrate that the CLF Team has and will continue to

represent the proposed Class fairly and adequately.

       B.      The CLF Team’s Litigation, Class Action, and MDL Leadership Experience
               is Unparalleled

       The CLF Team represents nearly 80 years of collective litigation experience, including in

the field of consumer class action litigation. Each member of the team brings with them diverse

knowledge and experience, resulting in a formidable leadership structure. While the CLF Team

has the full support of their respective firms, the individual members set forth above are willing to

be held individually accountable for managing this litigation and vigorously representing the

interests of the proposed Classes.2 As discussed below, the qualifications and experience of each

member of the CLF Team satisfy the second and third Rule 23(g)(1)(A) factors and demonstrate

that this group is eminently qualified to serve as interim class counsel.

               1.      Co-Lead Class Counsel

                       a.      Carlson Lynch and Todd D. Carpenter

       Carlson Lynch is a nationally recognized nineteen-attorney class action law firm with

offices in Pittsburgh, San Diego, Chicago, Los Angeles, and Philadelphia, specializing in an array


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  The Guidelines and Best Practices for Large and Mass-Tort MDLs handbook (“MDL Best
Practices”), published by Duke Law Center for Judicial Studies explains: “Although some courts
appoint firms to serve in leadership positions, it is usually preferable to appoint individual lawyers
who can be held accountable and ensure that the case receives consistent attention of a senior
partner, rather than risking an excessive degree of delegation to less experienced attorneys.” Bolch
Judicial Institute, Duke Law School, MDL Best Practices 32 (2d ed. Sept. 2018),
https://judicialstudies.duke.edu/wp-content/uploads/2018/09/MDL-2nd-Edition-2018-For-
Posting.pdf (last accessed May 20, 2021).



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of complex class actions, including consumer fraud, data breach, privacy, financial fraud, labor

and employment, antitrust, and wage and hour litigation. Since 2004, Carlson Lynch has generated

seminal legal authority in trial and appellate courts, litigated every type of class action across the

country, and recovered substantial monetary awards and injunctive relief on behalf of class

members. See, e.g., In re: Ashley Madison Customer Data Sec. Breach Litig., No. 4:15-md-02669

(E.D. Mo.) ($11.2 million settlement in consumer data breach; Executive Committee); In re Rust-

Oleum Restore Mktg., Sales Practices and Prods. Liab. Litig., No. 1:15-cv-01364 (N.D. Ill.) ($9.3

million settlement in products liability MDL; Co-Lead Counsel). Indeed, Carlson Lynch has been

at the forefront of leading recent consumer protection actions. See, e.g., In Re: TikTok, Inc.,

Consumer Privacy Litig., No. 1:20-cv-04699 (Consumer privacy litigation resulting in

preliminarily approved $92 million settlement; Co-Lead Counsel). Additional information

regarding the firm’s numerous MDL leadership appointments in consumer class actions and praise

from the bench are set forth at ¶¶ 12-15 of the Carpenter Declaration.

       Todd D. Carpenter is a shareholder and managing partner of Carlson Lynch’s San Diego

branch. Mr. Carpenter’s extensive experience in class actions, his current and prior leadership roles

in class actions, and his proven ability to work collaboratively with co-counsel and opposing

counsel, make him uniquely qualified to co-lead this case. Over his career, he has taken and

defended over one hundred depositions. He has successfully participated in mediations resulting

in more than $100,000,000 in settlements or awards in class action cases. He has drafted, filed,

and argued multiple motions in complex consumer class actions, including all forms of discovery,

dispositive and certification motions. His practice focuses exclusively on consumer class actions

and complex litigation, representing plaintiff classes in false and deceptive advertising, unfair

business practices, major insurance fraud, product liability and anti-trust violations. Throughout




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his career, Mr. Carpenter has served as counsel of record in MDL proceedings in which his firm

was designated co-lead class counsel. Additional information regarding Mr. Carpenter’s

accomplishments and qualifications are set forth in the Carpenter Declaration at ¶¶ 16-21.

Significantly, even the Mawby Group conceded that Mr. Carpenter is fit to lead this MDL, as they

(unilaterally and without discussion) submitted him for alternate Co-Lead Class Counsel in their

portion of the Joint 26(f) Report. See ECF No. 41 at 2.

                       b.      The Faruqi Firm and Lubna M. Faruqi

       The Faruqi Firm is a woman- and minority-owned national law firm that focuses on

complex litigation in the areas of consumer class actions (particularly deceptive food and beverage

labeling), wage and hour, securities, merger and transactional, shareholder derivative, and antitrust

litigation. The firm has advocated for consumers’ rights for over 25 years, successfully challenging

deceptive business practices from some of the nation’s largest corporations. With over 30 lawyers

across five offices nationwide, the Faruqi Firm has recovered billions of dollars and other

significant remedial benefits for its clients and class members. See, e.g., Broomfield v. Craft Brew

All., Inc., No. 17-cv-01027-BLF, 2020 WL 1972505, at *17 (N.D. Cal. Feb. 5, 2020) (as co-lead

counsel, the Faruqi Firm negotiated nationwide class settlement worth over $13,000,000 for

consumers); In re: Scotts EZ Seed Litig., No. 7:12-cv-04727 (S.D.N.Y. June 15, 2012), ECF No.

360 (as Co-Lead Counsel, the Faruqi Firm negotiated class settlement with monetary relief worth

approximately $48,000,000). Thus, the Faruqi Firm has the resources and personnel necessary to

serve as Co-Lead Class Counsel in this case. Its extensive qualifications are further supported by

the Declaration of Lubna M. Faruqi and the Faruqi Firm Resume, attached as Exhibit A to the

Carpenter Declaration.

       Lubna M. Faruqi is the managing partner of the Faruqi Firm and has overseen and

managed all stages of this litigation thus far. Moreover, Ms. Faruqi has played an integral role in


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directing each of the Faruqi Firm’s consumer class action cases since the inception of the firm’s

consumer protection practice. She has used her extensive experience in class action litigation to

obtain the significant benefits provided to millions of consumers thus far by the firm. Appointing

Ms. Faruqi as Co-Lead Class Counsel will direct her decades of experience to ensure that putative

class members’ interests are best served.

         Further, Ms. Faruqi is a first-generation immigrant, and her unique background brings a

diverse perspective that will undoubtedly benefit the wide array of consumers in this action. Class

members in consumer class actions have diverse backgrounds, and that diversity should be

reflected in class counsel. Ms. Faruqi and the firm’s appointment will reflect the diversity of gender

and ethnicity found to be beneficial in complex litigation. As explained in the Duke Study:

         Litigants and the civil justice system benefit from diversity of leadership. Indeed,
         the same way that diversity improves companies’ bottom lines, litigants and the
         civil justice system benefit from diversity of leadership. Yet historically, women
         and minority lawyers have not been appointed to leadership positions at rates
         proportionate to their representation in the plaintiffs’ bar generally. It cannot be
         said that there are not enough talented individuals with the education, background
         and experience to effectively lead MDL litigation to permit greater diversity.3

         Ms. Faruqi and the Faruqi Firm reflect a commitment to diversity that judges increasingly

seek from the bar.4 Currently, approximately 40% of the Faruqi Firm’s partnership positions are

held by women and minorities, and the firm is committed to growing this figure in the coming

years.

                2.      Liaison Counsel– Tim Dollar (Dollar, Burns, Becker & Hershewe, L.C.)

         Tim E. Dollar, a founding partner of Dollar, Burns, Becker & Hershewe, L.C., has been

practicing law for 37 years and has recovered hundreds of millions of dollars in trial awards and


3
    MDL Best Practices 45 (footnotes omitted).
4
 See Anne Cullen, More Judges Are Demanding Diversity Among Class Counsel, Law360 (July
16, 2020), https://www.law360.com/articles/1292926/more-judges-are-demanding-diversity-
among-class-counsel.


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settlements for clients against companies of all sizes. Mr. Dollar is an experienced litigator, having

served as lead trial counsel in at least 280 jury trials, and as counsel in several class actions on

behalf of consumers, including cases brought under the Missouri Merchandising Practices Act. Of

particular note, Mr. Dollar served as Chair of the leadership committee in Foster v. L-3

Communications EOTech, Inc., et al, No. 6:15-cv-03519 (W.D. Mo.), a consumer class action

litigated in this District. Mr. Dollar’s advocacy in the Foster action led to a class-wide settlement

in which class members claimed in $51,000,000 in cash benefits. See id. at ECF No. 134.

       Throughout his distinguished career, Mr. Dollar repeatedly evidences his commitment to

justice and to the practice of law. Recent examples of Mr. Dollar’s trial and litigation expertise

include a $38.8 million verdict in Texas for personal injuries and wrongful death in a multi-vehicle,

tractor-trailer crash, and a $37.5 million-dollar verdict in Jackson County, Missouri for personal

injuries to his client. Mr. Dollar has also litigated and managed complex and high-profile cases,

including prosecuting the Precious Doe cold case seven years after the murder of Erica Green.

State of Mo. v. Johnson, No. 0516-CR02893. Mr. Dollar’s trial experience has earned him the role

of serving as special assistant prosecutor for Jackson County for over 35 years under six separately

elected prosecutors. Mr. Dollar’s unparalleled experience has earned him the Missouri Lawyers

ICON award, an award given to distinguished attorneys in recognition of their exemplary careers

and longstanding commitment to the Missouri legal community.

       Mr. Dollar has also demonstrated an ethical and professional approach to his practice. Mr.

Dollar served on the Missouri lawyer’s ethics committee for 6 years and has been the recipient of

the Missouri Association of Trial Attorneys – Thomas G. Strong Trial Attorney Award, a distinct

honor given to the Missouri Attorney who best exemplifies the qualities of professionalism, ethics,

character, and courtroom success. Mr. Dollar has also received the Lon O. Hocker Award, given




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only to those who demonstrate the utmost zealousness, honor, confidence, respect, courtesy, and

trial skills. Mr. Dollar is also a well-known and respected lecturer and published author, and he is

often invited to speak about trial tactics. Mr. Dollar’s experience in successfully advocating for his

clients establishes that he and his firm are well-suited to serve as Liaison Counsel here.

                3.     Executive Committee—Bonner C. Walsh of Walsh PLLC

         Mr. Walsh is the sole member of the CLF Teams’ proposed Executive Committee and is

prepared to support Co-Lead Class Counsel in prosecuting this case. As set forth in the MDL Best

Practices, Mr. Walsh can perform many essential functions, “from consulting with lead counsel

on overall case strategy to developing and implementing a litigation plan, managing discovery,

preparing briefs, and presenting argument to the court.”5 Mr. Walsh will contribute valuable

skillsets and relevant experience to the CLF Team, which will help guide the prosecution of this

litigation on behalf of the putative classes.

         Mr. Walsh’s experience with handling consumer class actions supports his appointment to

the proposed Executive Committee. Mr. Walsh has been certified as class counsel in previous

nationwide and state class actions and has used his expertise to garner substantial victories for

plaintiffs and class members resulting in benefits exceeding $1,800,000,000 to class members. See

Carpenter Decl., Ex. B, Declaration of Bonner C. Walsh ¶¶ 5-7. Notably, Mr. Walsh has served as

class counsel with Mr. Dollar in two successful class actions in this district, one of which was also

co-counseled with the Faruqi Firm.6 Additionally, Mr. Walsh has previously served on a class

action Executive Committee in In Re: Shop-Vac Marketing and Sales Practices Litigation, MDL



5
    MDL Best Practices 33.
6
 Foster v. L-3 Communications EOTech, Inc., No. 6:15-cv-03519-BCW, ECF No. 155 (W.D. Mo.
July 7, 2017) (order granting final approval of class action settlement); Hartley v. Sig Sauer, Inc.,
No. 4:18-cv-00267-SRB, ECF No. 69 (W.D. Mo. June 25, 2020) (same).


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2380 (M.D. Penn) and In Re: Kia Engine Litigation, No. 8:17-cv-0838-JLS-JDE (C.D. Cal.),

where he was the sole member of the executive committee.

       C.      The CLF Team Has Extensive Knowledge of the Applicable Law

       The significant experience of each of the CLF Team members in prosecuting consumer

class actions and, specifically, false advertising actions, is set forth extensively above and in the

enclosed declarations and resumes. See Carpenter Decl., Exs. A-C. The strategies and insights the

team members have already developed, both individually and collectively, in these consolidated

actions and as well as in other cases throughout their careers have informed, and will continue to

inform, their strategy in prosecuting this case. Indeed, Attorneys Carpenter and Faruqi have decades

of individual experience in the various issues that could arise during the course of this litigation—

including creating discovery plans, litigating and winning discovery disputes, successfully

certifying classes, defending against summary judgment motions, negotiating effective class-wide

settlements, and, when necessary, leading successful jury trials. Combining their talents with the

skills of Executive Committee member Mr. Walsh, and Liaison Counsel Mr. Dollar’s undeniable

prowess for trial advocacy, the CLF Team provides a leadership structure that the Plaintiffs and

Class Members can count on for fair and adequate representation.7

       D.      The CLF Team Has Sufficient Resources to Manage this Litigation

       Rule 23(g) requires the Court to consider “the resources that counsel will commit to

representing the class[.]” Fed. R. Civ. P. 23(g)(1)(A)(iv). As repeatedly demonstrated by the CLF

Team members’ success in this actions and innumerable others, the CLF Team has more than

sufficient resources to advance this litigation. After appointment, Co-Lead Class Counsel intend




7
 What also sets the CLF Team apart is that they are the only group to survive a motion to dismiss.
This was accomplished by the team’s extensive knowledge of applicable laws.


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to establish a litigation fund to pay the joint expenses needed to finance the case to which they and

the other team members will contribute. Additional funds will be contributed as necessary.

         In addition to financial resources, the CLF Team has the personnel, expertise and

infrastructure necessary to successfully pursue a case of this magnitude. Together, proposed Co-

Lead Class Counsel, Carlson Lynch and the Faruqi Firm, have approximately 50 attorneys across

five offices each and dedicated consumer departments with strong support staffs prepared to

commit all the resources and time necessary to achieve the best possible result. Moreover, Mr.

Dollar and Mr. Walsh both stand willing and able to commit all time and resources necessary to

lead this case. This litigation will not suffer for lack of resources under the CLF Team.8

II.      Other Matters Pertinent To Counsel’s Ability To Fairly And Adequately Represent
         The Class The Court May Consider Under Rule 23(g)(1)(B)

         Rule 23(g)(1)(B) states that courts “may consider any other matter pertinent to counsel’s

ability to fairly and adequately represent the interests of the class[.]” For example, in In re Equifax,

Inc., Customer Data Security Breach Litigation, Chief Judge Thrash requested submissions

addressing the leadership applicants’ ability to work cooperatively with others. See No. 1:17-cv-

05010, ECF No. 22 (N.D. Ga. Dec. 8, 2017). Additionally, the MDL Best Practices also explains

the importance of effective leadership skills.9 The Court should also consider that the CLF Team

effectively advances diversity of gender and ethnicity. Lastly, to the extent the question over

leadership is a close call (though it is not here), the Court should use the first-filed rule as “an

objective tie-breaker” and appoint the CLF Team. See Steele v. United States, No. 14-1523, 2015

WL 4121607, at *4 n.2 (D.D.C. June 30, 2015) (“[S]ince both groups are more than qualified to


8
 The Mawby Group does not come close to the resources the CLF Team has dedicated and will
continue to dedicate to this case. For instance, Shank & Heinemann only has 2 attorneys and
Bonnett, Fairbourn, Friedman & Balint has 18 attorneys.
9
    See MDL Best Practices 42-43; see also Manual for Complex Litigation (Fourth) § 10.21 (2004).

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handle this action, it would be imminently reasonable to select the Motley Rice Group on the basis

that their complaint was filed first.”). Each of these factors is discussed below.

       A.      The CLF Team has a Proven Track Record of Working Cooperatively with
               Co-counsel, Opposing Counsel, and this Court

       The CLF Team have a proven track record of working cooperatively with co-counsel,

opposing counsel and this Court. Each individual firm has worked with either some, or all, of the

other firms in the team. For example, the Faruqi Firm has worked with Carlson Lynch, Mr. Walsh,

and/or Mr. Dollar at least 15 times on class actions, and therefore can work cohesively and

effectively with other law firms in complex litigation matters. Indeed, the CLF Team’s track record

of successfully managing MDLs and history of working collaboratively with co-counsel is

illustrated by the large number of MDLs and other class cases listed herein and in the attached

declarations, in which the CLF Team firms worked successfully with larger groups of plaintiffs’

counsel, either while leading or serving in support roles.

       Moreover, after the establishment of this MDL, the CLF Team reached out to counsel for

the Mawby Group in an effort to create a consensus on leadership. The CLF Team offered an

opportunity for all counsel interested in participating in this case a fair opportunity to do so. After

the Mawby Group was unwilling to agree on a reasonable leadership structure, the CLF Team

collaborated to present its proposed leadership structure based on what would best serve the

Plaintiffs and putative classes.10 Many of the lawyers who nationally handle consumer litigation

on behalf of plaintiffs have formed healthy and productive working relationships with one another.


10
  Courts commonly give weight under Rule 23(g)(1)(B) to a proposed leadership structure reached
by consensus of plaintiffs. See, e.g., Deangelis v. Corzine, 286 F.R.D. 220, 223, 225 (S.D.N.Y.
2012) (giving “significant weight” to leadership structure developed among ten of twelve plaintiffs
in consolidated action); In re Crude Oil Commodity Futures Litig., No. 11 Civ. 3600 (WHP), 2012
WL 569195, at *2 (S.D.N.Y. Feb. 14, 2012) (same); In re Rail Freight Fuel Surcharge Antitrust
Litig., No. MDL 1869, 2008 WL 1883447, at *3 (D.D.C. Apr. 28, 2008) (same).


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The CLF Team proudly submits we are part of that group, and are fully capable of working with,

and/or coordinating the work of, any of the lawyers in this case.

       Finally, the CLF Team have and will continue to work cordially with defense counsel,

Winston & Strawn LLP, in order to secure the best possible outcome for the Class. Prior to the

MDL, Carlson Lynch and the Faruqi Firm worked cooperatively with defense counsel to prepare

and file a Joint 26(f) Status Report, navigate the MDL procedure, self-organized with respect to

several deadline and scheduling changes, and participated in discussions regarding substantive

aspects of the case. Of particular note, the Faruqi Firm and Carlson Lynch have litigated at least

six other cases against defense counsel in the last few years. The CLF Team looks forward to

continuing this cooperation in order to streamline discovery.

       B.      The CLF Team Consists of Highly Effective Leaders

       Attorneys Todd D. Carpenter and Lubna M. Faruqi alone have over 50 years of combined

legal experience, the majority of which has been spent managing complex class actions. They

further honed their managerial skills at their respective firms, where they are managers of their

firm’s attorneys. All of those skills transitioned seamlessly to managing complex MDLs, which is

evidenced by their firms’ numerous leadership appointments by courts around the nation.

       One of the specific areas that Attorneys Carpenter and Faruqi have learned to effectively

manage is plaintiffs’ counsel fees in MDLs like this one. They believe it is incumbent upon co-

lead counsel, in the first instance, to oversee and control fees and expenses through active

management of both the work that is performed, as well as how that work is billed. To maintain

reasonable fees and expenses here, they have agreed to implement two strategies: First, Co-Lead

Class Counsel must expressly approve all work before it is performed. This avoids duplication of

effort. Second, attorneys performing work will be directed to submit their time to Co-Lead Class

Counsel periodically for review, to ensure that it was commensurate with the needs of the case and


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the overall tasks being performed.

        C.      The CLF Team Advances Diversity in MDL Leadership

        As this Court is undoubtedly aware, leadership positions historically reflect a dearth of

women, and particularly women of color. But complex cases are a microcosm of a diverse nation

and applying well-researched business principles in this context results in a natural parallel:

diversity fosters courtroom success. The Duke Law Center for Judicial Studies recommends that

Judges should seek to “to appoint a diverse group, with respect to not only prior experience and

skills, but also gender, race, and national original, age, and sexual orientation.” See MDL Best

Practices 46. As the Duke Study and the National Association of Women Judges,11 among others,

advocate, this Court can and should insist upon sufficiently diverse leadership. As described above,

particularly with respect to Ms. Faruqi and the Faruqi Firm, the CLF Team achieves this objective

and brings diversity to the table along with a proven track record for obtaining significant results.

        D.      The CLF Team Was First To File

        Lastly, to the extent the Court believes that the Rule 23(g) factors do not weigh heavily in

either group’s direction, the tie breaking factor is the “first to file” rule. Michelle v. Arctic Zero,

Inc., No. 12cv2063-GPC(NLS), 2013 WL 791145, at *2 n.3 (S.D. Cal. Mar. 1, 2013) (holding that

the first-filed rule is “a relevant factor when the factors for class counsel do not tilt heavily in either

direction and there is a need for an objective tie-breaker.”). See, e.g., Richey v. Ells, No. 12-cv-

1831-WJM-MEH, 2013 WL 179234, at *2 (D. Colo. Jan. 17, 2013) (“Ultimately, Plaintiff Richey

was the first to file his case and, therefore, the Court appoints his counsel as Lead Counsel for the




11
  See National Ass’n of Women Judges, Resolution on Diversity in Trial Court Appointments,
(Oct. 8, 2016), https://www.nawj.org/uploads/files/resolutions/resolution-diversity_in_trial
_court_appointments_2016.pdf.


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consolidated action.”).12

       Here, the CLF Team filed the first action. As such, to the extent the Court has any doubt

that the CLF Team best meets the Rule 23(g) criteria, the Court should find that the CLF Team

being first to file weighs in favor of their appointment. This is true especially where, as here, “a

simple comparison of the original complaint . . . with the [later-filed complaints] reveals that they

are almost identical.” Carlin v. DairyAmerica, Inc., No. 1:09cv0430 AWI DLB, 2009 WL

1518058, at *2 (E.D. Cal. May 29, 2009). Here, the complaints filed by the Mawby Group were

not only temporally subsequent to the Ibarra and Ashton cases, they are markedly similar in

content. Thus, the first-to-file rule weighs in favor of appointing the CLF Team.

                                         CONCLUSION

       For all the reasons set forth above, the undersigned counsel respectfully request that

this Court appoint the CLF Team as interim class counsel.

Dated: May 20, 2021.                                  Respectfully submitted,


                                                      By: /s/Tim Dollar

                                                      Tim Dollar, Missouri Bar No. 33123
                                                      DOLLAR, BURNS, BECKER &
                                                      HERSHEWE, L.C.
                                                      1100 Main Street, Suite 2600
                                                      Kansas City, MO 64105
                                                      Tel: (816) 876-2600
                                                      Fax: (816) 221-8763
                                                      Email: timd@dollar-law.com




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  See also Biondi v. Scrushy, 820 A.2d 1148, 1159 (Del. Ch. 2003); In re Insulin Pricing Litig.,
No. 3:17–cv–0699–BRM–LHG, 2017 WL 4122437, at *3 (D.N.J. Sept. 18, 2017); Moradi v.
Adelson, No. 11–cv–00490–GMN–RJJ, 2011 WL 5025155, at *3 (D. Nev. Oct. 20, 2011); Steele,
2015 WL 4121607, at *4.


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                                 Todd D. Carpenter
                                 pro hac vice
                                 Scott G. Braden
                                 pro hac vice
                                 Katrina Carroll
                                 pro hac vice
                                 CARLSON LYNCH, LLP
                                 1350 Columbia St., Ste. 603
                                 San Diego, CA 92101
                                 Tel.: 619-762-1900
                                 Fax: 619-756-6991
                                 tcarpenter@carlsonlynch.com
                                 sbraden@carlsonlynch.com
                                 kcarroll@carlsonlynch.com

                                 Lubna M. Faruqi
                                 pro hac vice
                                 Tim Peter
                                 pro hac vice
                                 Benjamin Heikali
                                 pro hac vice
                                 Nina M. Varidani
                                 pro hac vice
                                 FARUQI & FARUQI, LLP
                                 10866 Wilshire Boulevard, Suite 1470
                                 Los Angeles, CA 90024
                                 Telephone: (424) 256-2884
                                 Facsimile: (424) 256-2885
                                 lfaruqi@faruqilaw.com
                                 tpeter@faruqilaw.com
                                 bheikali@faruqilaw.com
                                 nvarindani@faruqilaw.com

                                 Bonner C. Walsh
                                 pro hac vice
                                 WALSH PLLC
                                 1561 Long Haul Road
                                 Grangeville, ID 83530
                                 Telephone: (541) 359-2827
                                 Facsimile: (866) 503-8206
                                 bonner@walshpllc.com

                                 Attorneys for Plaintiffs Shelly Ashton, Jay
                                 Schoener, Ramon Ibarra, Ellen Moser,
                                 Geoff Thomson and Julie Marthaller




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2021, a true and correct copy of the foregoing was

electronically filed. Notice of this filing will be sent by email to all parties by operation of the

Court’s electronic filing system.

                                                      By: /s/Tim Dollar
                                                      Tim Dollar, Missouri Bar No. 33123




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